       Case 2:14-cv-00048-JZB Document 23 Filed 08/11/14 Page 1 of 7



 1   WO
 2
 3
 4
 5
 6                        IN THE UNITED STATES DISTRICT COURT
 7                              FOR THE DISTRICT OF ARIZONA
 8
 9
     Donald and Patricia McCoy,                 )    No. CV-14-0048-PHX-LOA
10                                              )
                Plaintiffs,                     )    ORDER
11                                              )
     vs.                                        )
12                                              )
     U. S. Collections West, Inc.; Donald       )
13   Darnell,                                   )
                                                )
14              Defendants.                     )
                                                )
15
            This action arises on Defendant Donald Darnell’s (“Darnell”) Motion to Dismiss
16
     Pursuant to Rule 12(b)(6) on the ground that the Complaint fails to state a claim against
17
     Darnell upon which relief may be granted. (Doc. 10) In their Complaint, Plaintiffs Donald
18
     and Patricia McCoy (“Plaintiffs”) allege violations of the Fair Debit Collection Practices Act.
19
     (Doc. 1) Darnell contends that 1) the Complaint does not allege sufficient facts to state a
20
     plausible claim for relief against him, and 2) he has no personal liability under any legal
21
     theory for the alleged acts of a representative, employee or agent of Defendant U.S.
22
     Collections West, Inc. (“Collections West”), an Arizona corporation. Plaintiffs oppose the
23
     motion.
24
            After considering the parties’ briefings and relevant case law, the Court will grant the
25
     motion and dismiss Darnell from this action without prejudice.
26
     I. Background
27
            On January 10, 2014, Plaintiffs, through counsel, filed this action, alleging Defendants
28
     are debt collectors and violated various provisions of the Fair Debit Collection Practices Act
       Case 2:14-cv-00048-JZB Document 23 Filed 08/11/14 Page 2 of 7



 1   (“FDCPA”) in attempting to collect debt from Plaintiffs. Specifically, the Complaint alleges
 2   that, inter alia, Darnell “controls U.S. Collections West, Inc[;]” “the Defendants, acting
 3   through representatives, employees and/or agents attempted to collect the debt from
 4   Plaintiffs[;]” “Defendant’s agent falsely advised Plaintiffs that if they contested the
 5   garnishment that the amount of the garnishment would go up to $4,288.17[;]” and “[a]s a
 6   consequence of the Defendant’s collection activities and communication(s), the Plaintiff (sic)
 7   seeks damages pursuant to FDCPA 1692k(a).” (Docs. 1, ¶¶ 15, 27, 34, 44) The Complaint
 8   requests the Court grant judgment in favor of “the Plaintiff (sic) and against the
 9   Defendant[,]” and award damages and reasonable attorney’s fees and costs pursuant to 15
10   U.S.C. § 1692k(a)(3). (Id. at 5-6)
11          On February 11, 2014, Defendants’ common counsel filed Collections West’s Answer
12   and the pending dismissal motion. (Docs. 8, 10) All parties have expressly consented in
13   writing to magistrate-judge jurisdiction pursuant to 28 U.S.C. § 636(c). (Docs. 7, 11)
14          In his Motion to Dismiss, Darnell contends that the Complaint fails to identify the
15   specific representative, employee, or agent of Collections West, who allegedly spoke to one
16   or both Plaintiffs, giving rise to claims alleged herein. Darnell points out that “[n]owhere in
17   Plaintiffs’ complaint are there any allegations that Defendant Donald Darnell discussed,
18   talked to or had any contact or involvement with Plaintiffs regarding the collection of the
19   debt on behalf of Defendant U.S. Collections West, Inc.” (Id.) In other words, there is no
20   allegation that Darnell himself violated the FDCPA. According to Darnell, the only reason
21   Darnell was named personally as a defendant is because Darnell allegedly “controls U.S.
22   Collections, West, Inc.” (Doc. 10 at 1) (citing paragraph 15 of the Complaint). Citing Rule
23   8(a)(2), Fed.R.Civ.P., Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007) and Ashcroft v.
24   Iqbal, 556 U.S. 662 (2009), Darnell argues that because the Complaint is “devoid of any
25   facts” against him individually to raise a plausible claim under federal law that Darnell is
26   liable for the misconduct alleged, it fails to state a claim for relief against Darnell personally.
27   (Id. at 1-2)
28          Additionally, Darnell contends that the Complaint also fails to allege sufficient facts

                                                    -2-
       Case 2:14-cv-00048-JZB Document 23 Filed 08/11/14 Page 3 of 7



 1   to show that Darnell could be personally liable for the allegedly wrongful acts of a
 2   representative, employee or agent of Collections West under any cognizable legal theory.
 3   Even assuming as true, as the Court must, that Collections West is an Arizona corporation
 4   controlled by Darnell, he claims that the Complaint does not allege sufficient facts to support
 5   a cognizable legal theory against him for the conduct of others employed by Collections
 6   West. (Id. at 3) (citing Balistreri v. Pacifica Police Dep’t, 901 F.2d 696, 699 (9th Cir. 1990).
 7          In their Response to Defendant Darnell’s Motion to Dismiss, Plaintiffs initially noted
 8   that “[i]f discovery shows that Darnell was not personally involved in the conversations or
 9   did not personally direct his agent resulting in the alleged violations, Plaintiff (sic) agrees
10   that the suit against Darnell personally should be dismissed.” (Doc. 17, ¶ 5 at 2) Later,
11   Plaintiffs argue that “[t]aking all of the allegations of Plaintiffs’ Complaint as true, Plaintiff
12   (sic) has stated plausible claims against Defendant Darnell for violation of the FDCPA.” (Id.
13   at 4) Specifically, Plaintiffs write that the Complaint “alleges that Defendant Darnell or his
14   agent falsely stated that if Plaintiffs contested the garnishment, that the amount of the
15   garnishment would go up to $4,288.17. . . [and] that Defendants had no legal authority to
16   raise the garnishment from $1,362.88 to $4,288.17 and that Defendants’ false statements
17   were in violation of 15 U.S.C. § 1692e[.]” (Id.)
18          Plaintiffs’ Response does not address Darnell’s asserted argument that the Complaint
19   does not allege sufficient facts to support a cognizable legal theory against him for the
20   conduct of others employed by Collections West.
21   II. Standard of Review
22          Federal Rule of Civil Procedure 8(a)(2) requires that each claim in a pleading be
23   supported by “a short and plain statement of the claim showing that the pleader is entitled to
24   relief.” Fed.R.Civ.P. 8(a). To meet this requirement, the Supreme Court has held that an
25   “entitlement to relief” requires “more than labels and conclusions . . . Factual allegations
26   must be enough to raise a right to relief above a speculative level.” Twombly, 550 U.S. at
27   555. A complaint or counterclaim must contain “sufficient factual matter, accepted as true,
28   to ‘state a claim to relief that is plausible on its face.’” Iqbal, 556 U.S. at 678 (quoting

                                                   -3-
       Case 2:14-cv-00048-JZB Document 23 Filed 08/11/14 Page 4 of 7



 1   Twombly, 550 U.S. at 570); see also Starr v. Baca, 652 F.3d 1202, 1216 (9th Cir. 2011).
 2   Even where a complaint has the factual elements of a cause of action present, but is factually
 3   scattered throughout the complaint and not organized into a “short and plain statement of the
 4   claim,” it may be dismissed for failure to satisfy Rule 8(a). Sparling v. Hoffman Constr. Co.,
 5   864 F.2d 635, 640 (9th Cir. 1988). A motion to dismiss under Rule 12(b)(6) for failure to
 6   state a claim upon which relief can be granted “tests the legal sufficiency of a claim.”
 7   Conservation Force v. Salazar, 646 F.3d 1240, 1241-42 (9th Cir. 2011) (quoting Navarro
 8   v. Block, 250 F.3d 729, 732 (9th Cir. 2001)).
 9          Establishing the plausibility of a complaint’s allegations is a two-step process that is
10   “context-specific” and “requires the reviewing court to draw on its judicial experience and
11   common sense.” Iqbal, 556 U.S. at 679; see also Eclectic Properties East, LLC v. Marcus
12   & Millichap Co., 751 F.3d 990, 995-96 (9th Cir. 2014). First, a district court should
13   “identif[y] pleadings that, because they are no more than conclusions, are not entitled to the
14   assumption of truth.” Id. Then, a court should “assume the[ ] veracity” of “well pleaded
15   factual allegations” and “determine whether they plausibly give rise to an entitlement to
16   relief.” Id. “Where a complaint pleads facts that are merely consistent with a defendant’s
17   liability, it stops short of the line between possibility and plausibility of entitlement to relief.”
18   Id. at 678 (citation omitted). When considering plausibility, courts must also consider an
19   “obvious alternative explanation” for defendant’s behavior. Id. at 682 (quoting Twombly,
20   550 U.S. at 567).
21          Dismissal is also proper where a complaint does not make out a cognizable legal
22   theory or fails to allege sufficient facts to support a cognizable legal theory. Mendiondo v.
23   Centinela Hosp. Med. Ctr., 521 F.3d 1097, 1102 (9th Cir. 2008); Balistreri, 901 F.2d at 699.
24          In order to assist litigants to understand federal pleading requirements, Rule 84 of the
25   Federal Rules of Civil Procedure provides samples in an Appendix of Forms, which
26   “illustrate the simplicity and brevity that the[] rules contemplate.” See also McHenry v.
27   Renne, 84 F.3d 1172, 1177 (9th Cir. 1996). An example is Form 11 (Complaint for
28   Negligence):

                                                     -4-
       Case 2:14-cv-00048-JZB Document 23 Filed 08/11/14 Page 5 of 7



 1          1. (Statement of Jurisdiction - See Form 7).
 2          2. On date, at place, the defendant negligently drove a motor vehicle against the
            plaintiff.
 3
            3. As a result, the plaintiff was physically injured, lost wages or income,
 4          suffered physical and mental pain, and incurred medical expenses of $____.
            Therefore, the plaintiff demands judgment against the defendant for $____, plus
 5          costs.
 6
     Each claim must be stated in a separate count. Bautista v. Los Angeles County, 216 F.3d 837,
 7
     840-41 (9th Cir. 2000).
 8
     III. The Fair Debt Collection Practices Act
 9
            It is well settled that FDCPA liability is limited to individuals or entities who meet the
10
     FDCPA’s definition of “debt collector.” See, e.g., Pollice v. Nat’l Tax Funding LP, 225 F.3d
11
     379, 403 (3d Cir. 2000) (“The FDCPA’s provisions generally apply only to ‘debt collectors.’
12
     . . . Creditors - as opposed to ‘debt collectors’ - generally are not subject to the FDCPA.”);
13
     Wadlington v. Credit Acceptance Corp., 76 F.3d 103, 108 (6th Cir. 1996) (finding that the
14
     liability for a debt collector should not be vicariously imposed on the assignee who was not
15
     a debt collector under the FDCPA); Miranda v. Field Asset Services, 2013 WL 124047, at
16
     *4 (S.D. Cal. Jan. 9, 2013); Plumb v. Barclays Bank Delaware, 2012 WL 2046506, at *4
17
     (E.D. Wash. June 5, 2012) (“[E]ven vicarious liability under the FDCPA has been restricted
18
     to principals who themselves are statutory ‘debt collectors.’”); Oei v. N. Star Capital
19
     Acquisitions, LLC, 486 F. Supp. 2d 1089, 1097 (C.D. Cal. 2006). The FDCPA defines “debt
20
     collector” as “any person who . . . in any business the principal purpose of which is the
21
     collection of any debts, or who regularly collects or attempts to collect, directly or indirectly,
22
     debts owed or due or asserted to be owed or due another. . . .” 15 U.S.C. § 1692a(6)
23
     (emphasis added). The FDCPA was designed to protect consumers who have been victimized
24
     by unscrupulous debt collectors, regardless of whether a valid debt actually exists. Baker v.
25
     G.C. Servs. Corp., 677 F.2d 775, 777 (9th Cir. 1982).
26
     IV. Motions to Dismiss
27
            When reviewing a motion to dismiss, a district court may “consider only allegations
28

                                                   -5-
       Case 2:14-cv-00048-JZB Document 23 Filed 08/11/14 Page 6 of 7



 1   contained in the pleadings, exhibits attached to the complaint, and matters properly subject
 2   to judicial notice.” Swartz v. KPMG LLP, 476 F.3d 756, 763 (9th Cir. 2007) (per curiam).
 3   “When ruling on a Rule 12(b)(6) motion to dismiss, if a district court considers evidence
 4   outside the pleadings, it must normally convert the 12(b)(6) motion into a Rule 56 motion
 5   for summary judgment, and it must give the nonmoving party an opportunity to respond.”
 6   United States v. Ritchie, 342 F.3d 903, 907 (9th Cir. 2003) (citing Fed.R.Civ.P. 12(b)).
 7          In the Ninth Circuit and elsewhere, new issues and evidence may not be raised in
 8   reply briefs absent leave of the court. See Bazuaye v. I.N.S., 79 F.3d 118, 120 (9th Cir. 1996)
 9   (“Issues raised for the first time in the reply brief are waived.”). When new material is raised
10   in a reply brief, a district court has the discretion to strike that material. See, e.g, Tovar v.
11   U.S. Postal Serv., 3 F.3d 1271, 1273 (9th Cir. 1993) (striking portions of a reply brief that
12   presented new information); Provenz v. Miller, 102 F.3d 1478, 1483 (9th Cir. 1996), cert.
13   denied, 522 U.S. 808 (1997); Doebele v. Sprint/United Mgmt. Co., 342 F.3d 1117, 1139 n.
14   13 (10th Cir. 2003) (finding district court abused its discretion to the extent it relied on new
15   evidentiary materials presented for the first time in a summary judgment reply brief);
16   Nautilus Grp., Inc. v. Icon Health & Fitness, Inc., 308 F.Supp.2d 1208, 1214 (W.D. Wash.
17   2003) (striking a declaration with new evidence submitted in reply).
18          Here, Defendant Darnell’s introduction of new evidence via his affidavit attached to
19   his Reply leaves Plaintiffs without an adequate opportunity to respond. (Doc. 22-1) Darnell
20   has not requested leave of the Court to file an untimely affidavit or provided any reason why
21   he could not have raised the new information contained in his affidavit at an earlier time.
22   Thus, the Court will strike Defendant Darnell’s affidavit attached to the Reply and will not
23   consider the new evidence raised in his reply brief and affidavit in ruling on the pending
24   motion.
25   V. Discussion
26          Plaintiffs have failed to state a plausible FDCPA claim for relief against Darnell as
27   required by Rule 8(a)(2), Fed.R.Civ.P. Specific allegations regarding purported wrongdoing
28   by Darnell are non-existent. Nowhere in the Complaint do Plaintiffs allege that Darnell

                                                   -6-
       Case 2:14-cv-00048-JZB Document 23 Filed 08/11/14 Page 7 of 7



 1   discussed, talked to, or even had contact with Plaintiffs regarding the collection of debt on
 2   behalf of corporate Defendant Collections West. The Complaint frequently uses the singular
 3   word “Defendant” without being specific which of the two defendants Plaintiffs are referring.
 4   The Complaint’s vague allegations require the Court and Darnell to speculate whether
 5   Plaintiffs are referring to Darnell or someone else and do not raise a claim for relief against
 6   him above a speculative level. Twombly, 550 U.S. at 555. Candidly, the Complaint was
 7   poorly drafted. It fails to contain sufficient factual allegations that, if accepted as true, “state
 8   a claim to relief that is plausible on its face” against Darnell. Iqbal, 556 U.S. at 678. Clearly,
 9   the Complaint does not meet the federal pleading standard required by Rule 8(a)(2),
10   Fed.R.Civ.P., and the Supreme Court.
11          Based on the foregoing,
12          IT IS ORDERED that Defendant Donald Darnell’s Motion to Dismiss, doc. 10, is
13   GRANTED. Defendant Donald Darnell is hereby dismissed without prejudice as a named
14   defendant in this lawsuit.
15          IT IS FURTHER ORDERED that Defendant Darnell’s affidavit, doc. 22-1,
16   attached to Darnell’s Reply is hereby STRICKEN as an unauthorized filing.
17          IT IS FURTHER ORDERED that counsel must jointly and promptly contact the
18   chambers of the newly-assigned magistrate judge to schedule a Rule 16 case management
19   conference after re-assignment of this case.
20          Dated this 11th day of August, 2014.
21
22
23
24
25
26
27
28

                                                    -7-
